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                                                                     The Honorable Marsha J. Pechman
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
     TALVEER GILL,                                       Case No. 2:20-cv-939 MJP
10
                                    Plaintiff,           JOINT STATUS REPORT, STIPULATED
11                                                       MOTION, AND ORDER REGARDING
                      v.                                 BRIEFING SCHEDULE
12

13   CHAD F. WOLF, et al.,                               Note on Motion Calendar:
                                                         October 20, 2020
14                                  Defendants.

15

16           Plaintiff filed this action seeking review of a decision by U.S. Citizenship and Immigration

17   Services (“USCIS”). Dkt. No. 1. The parties agree that Plaintiffs’ action is brought pursuant to

18   the Administrative Procedures Act, 5 U.S.C. § 702. As such, the parties agree that Plaintiffs’ case

19   is “an action for review on an administrative record,” falling under a category of cases in

20   Federal Rule of Civil Procedure 26(a)(1)(E)(i) that are exempt from the requirements set forth in

21   Fed. R. Civ. P. 26(a) and (f) pertaining to the “lay down” of discovery, the participation of the

22   parties in a discovery conference, and the presentation of a joint discovery plan.

23           Therefore, the parties have agreed to the following proposed briefing schedule for the

24   filing of summary judgment motions and any responses thereto:

25           1.       Plaintiffs shall file a motion for summary judgment, which must not exceed

26           twenty-four pages, no later than January 25, 2021 and note it on the motion calendar for

27           May 28, 2021;

28    Stipulation and Order                                           UNITED STATES ATTORNEY
      2:20-cv-939 MJP                                                700 STEWART STREET, SUITE 5220
      PAGE- 1                                                          SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
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 1          2.       Defendants shall file their combined response and cross motion for summary
 2          judgment, which must not exceed twenty-four pages, no later than March 26 , 2021 and
 3          note it on the motion calendar for May 28, 2021;
 4          3.       Plaintiffs shall file their combined response to Defendants’ motion and reply to
 5          Plaintiffs’ motion, which must not exceed twelve pages, no later than April 30, 2021.
 6          4.       Defendants shall file their reply, which must not exceed twelve pages, in support
 7          of their motion no later than May 28, 2021.
 8
       Dated this 20th day of October, 2020.           Dated this 20th day of October, 2020.
 9

10     JASON E. ANKENY                                 BRIAN T. MORAN
                                                       United States Attorney
11
        s/Jason E. Ankeny                               s/ Sarah K. Morehead
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16
       Attorney for Plaintiff                          Attorney for Defendants
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28   Stipulation and Order                                          UNITED STATES ATTORNEY
     2:20-cv-939 MJP                                               700 STEWART STREET, SUITE 5220
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                                                                           (206) 553-7970
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 1                                               ORDER
 2           The parties having so stipulated, IT IS ORDERED that the parties will comply with the
 3   above stipulated briefing schedule.
 4

 5           Dated this 20th day of October, 2020.
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                                                        Marsha J. Pechman
10                                                      United States District Judge

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28    Stipulation and Order                                       UNITED STATES ATTORNEY
      2:20-cv-939 MJP                                            700 STEWART STREET, SUITE 5220
      PAGE- 3                                                      SEATTLE, WASHINGTON 98101
                                                                         (206) 553-7970
